Case 3:06-cr-30167-NJR     Document 358 Filed 04/11/08       Page 1 of 1    Page ID
                                     #1051



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,


Plaintiff,

v.

SCOTT RIDDLE,

Defendant.                                          No. 06-CR-300167-DRH

                                     ORDER


HERNDON, Chief Judge:

             Now before the Court is Defendant’s motion for continuance (Doc. 357).

Said motion is GRANTED. The Court CONTINUES the sentencing to May 8, 2008

at 10:30 a.m.

             IT IS SO ORDERED.

             Signed this 11th day of April, 2008.

                                                    /s/     DavidRHer|do|
                                                    Chief Judge
                                                    United States District Court
